Case 3:22-cv-00049-NKM-JCH Document 194 Filed 03/24/23 Page 1 of 4 Pageid#: 2375



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTSVILLE DIVISION

   BABY DOE, et al.,

                   Plaintiffs,
                                                                 CIVIL NO: 3:22-cv-00049-NKM-JCH
           -v.-

   JOSHUA MAST, et al.,

                   Defendants,

   and

   UNITED  SECRETARY                 OF      STATE
   ANTONY BLINKEN, et al.

                   Nominal Defendants.


                  DEFENDANT RICHARD MAST’S REPLY IN SUPPORT OF
                          MOTION TO VACATE PROTECTIVE ORDER

         While little needs to be said in reply to Plaintiffs’ opposition (Dkt. No. 188) to Defendant

 Richard Mast’s motion to vacate (Dkt. No. 176) the Court’s protective order (Dkt. No. 26) (“Order”),

 a few points are worthwhile to underscore―both as to what Plaintiffs’ opposition says and what it

 does not say.

         First, Plaintiffs seem to object to the fact that movant’s motion to vacate the Order includes

 some overlap with the motion by Defendants’ Joshua and Stephanie Mast to modify the Order. Well,

 that would be expected. Furthermore, the earlier motion by Joshua and Stephanie Mast was focused

 on modifying the Order and did not have the more thoroughgoing analysis of the Fourth Circuit’s

 seminal decision in In re Murphy-Brown, LLC, 907 F.3d 788, 796 (4th Cir. 2018). That discussion in

 the motion to vacate was hardly duplicative.

         Second, Plaintiffs opposition itself highlights one of the constitutional infirmities of the Order.

 Thus, Plaintiffs assert that the Order is not overbroad (or vague for that matter) because it only requires

                                                      1
Case 3:22-cv-00049-NKM-JCH Document 194 Filed 03/24/23 Page 2 of 4 Pageid#: 2376



 a non-disclosure agreement “if a defendant reveals that Baby Doe (or John and Jane Doe) is the subject

 of this litigation, not if they reveal that she attends a particular pre-kindergarten program.” (Pls.’ Opp’n

 at 4 [emphasis in the original]). Unfortunately, that is not what the Order states. The Order has no such

 limiting language. What the Order adds to a blanket requirement to obtain non-disclosure agreements is

 a subsequent sentence that states: “This applies to any disclosure in the course of any investigation

 undertaken by the Defendants, their counsel, or their other agents or representatives.” (Order at 2). If

 this sentence was intended to limit the previous blanket requirement, it would have stated that “This

 applies only to . . ..” But even the sentence with the addition we suggest does not say what Plaintiffs

 claim it says. Furthermore, “[a]ny investigation” means what exactly? Investigating a kindergarten?

 Are all investigations to be treated equally? Plaintiffs’ attempt to rewrite the Order to cabin its

 overbreadth is transparent for what it is.

         Third, Plaintiffs’ opposition also seems to take the implicit position that their one-sided, vague

 claims of potential harm if the Does are identified sufficiently carries their burden to obtain a gag order

 and the use of pseudonyms. As pointed out in the motion and in the earlier motion to modify the Order

 by Joshua and Stephanie Mast, the burden is on Plaintiffs to provide a sound basis embedded in facts to

 obtain the relief they sought in the Order in the first instance. Plaintiffs’ attempt at “burden shifting”

 goes to the heart of the problem with the Order. It was an ex parte, copy-paste Order based upon a thin

 set of facts, which Defendants had no opportunity to challenge. And, indeed, it led to an Order that

 provided literally no factual analysis or examination whatsoever, also in clear violation of the Fourth

 Circuits’ requirements in In re Murphy-Brown, LLC and in James v. Jacobson, 6 F.3d 233, 238 (4th

 Cir. 1993).

         Fourth, Plaintiffs opposition is entirely silent as to the ex parte nature of the Order and, more

 importantly, the entirely asymmetrical, one-sided nature of the Order. Similarly they don’t address at all

 the Order’s requirement for Defendants to actually provide Plaintiffs with their work product by way of

 the disclosure of “any person” to whom Defendants have identified the Does and to turn over any non-

                                                      2
Case 3:22-cv-00049-NKM-JCH Document 194 Filed 03/24/23 Page 3 of 4 Pageid#: 2377



 disclosure agreements signed. (This quite obviously also relates back to the overbreadth problem. Here,

 the ”any person” is not limited to the vague “investigations” noted above nor is it limited to “this

 litigation.”)

         Finally, we will not take Plaintiffs’ bait and address the issue of Defendant Richard Masts

 response to the Court’s rather vague query about what “ultimately” the Masts intended during the earlier

 matter before this Court. Plaintiffs somewhat adolescently determine it was a “lie.” (Pls.’ Opp’n at 6).

 This is the kind of language one would expect from a layperson (or a teenager) who pays little attention

 to the complexities of intent and the meaning of words and the ambiguity that follows a quick colloquy

 during an oral argument. When the time comes, and as the undersigned pointed out to the Court at the

 last hearing, when the facts are laid bare, Defendant Richard Mast will have nothing to answer for.

         For all the foregoing reasons and as set forth in the motion to vacate the Order, Defendant

 Richard Mast respectfully requests that the Court vacate in its entirety the Order.

 Dated: March 24, 2023                          Respectfully submitted,


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                                                    3
Case 3:22-cv-00049-NKM-JCH Document 194 Filed 03/24/23 Page 4 of 4 Pageid#: 2378



                                  CERTIFICATE OF SERVICE

        I hereby certify that on March 24, 2023, a copy of the foregoing was filed electronically.

 Notice of this filing will be sent to all parties for whom counsel has entered an appearance by

 operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

 system. I further certify that a copy of the foregoing has been served by ordinary U.S. mail upon all

 parties for whom counsel has not yet entered an appearance electronically: none.

                                                      /s/David Yerushalmi
                                                      David Yerushalmi, Esq.




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